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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )        8:13CR244
                     Plaintiff,                  )
                                                 )     FINDINGS AND
       v.                                        )   RECOMMENDATION
                                                 )
LUIS MEZA-GALVEZ,                                )
                                                 )
                     Defendant.                  )
       This matter is before the court on the Motions to Suppress (Filing No. 65 and Filing
No. 67 as amended by Filing No. 99) filed by defendant Luis Meza-Galvez (Meza-Galvez).
Meza-Galvez is charged in the Indictment with a conspiracy to distribute and possess with
intent to distribute methamphetamine in violation of 21 U.S.C. § 846 (Count I) and the
possession with intent to distribute more than 50 grams of actual methamphetamine on
May 23, 2013, in violation of 21 U.S.C. § 841(a)(1) (Count III). Meza-Galvez is also
charged in a Forfeiture Allegation, along with Jorge Munoz-Ramon (Munoz-Ramon), Luis
Vallejo (Vallejo), and Froilan Cuevas (Cuevas), involving seizures of various amounts of
U.S. currency in violation of 21 U.S.C. § 853. Meza-Galvez seeks to suppress evidence
seized by law enforcement officers from an apartment in Omaha, Nebraska, on May 24,
2013 (Filing No. 67 as amended by Filing No. 99), along with any statements Meza-Galvez
gave to the officers that day (Filing No. 65).
       The court held an evidentiary hearing on the motions on September 17, 2013.
Meza-Galvez was present with his counsel, Ernest H. Addison, Jr. Laura Garcia-Hein
served as a Spanish language interpreter for the hearing.        The United States was
represented by Special Assistant U.S. Attorney Martin J. Conboy, IV. The court heard the
testimony of Detective Robert Branch, Jr. (Detective Branch) and Officer Adolfo Hernandez
(Officer Hernandez) of the Omaha Police Department (OPD). The court also received into
evidence a rights advisory form (Ex. 1) and an affidavit for a search warrant (Ex. 2). A
transcript (TR.) of the hearing was prepared and filed on September 24, 2013 (Filing No.
106). The parties were allowed post-hearing briefing until September 25, 2013.


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                                 FINDINGS OF FACT
      In May of 2013, the OPD was investigating methamphetamine trafficking in the
Omaha area involving Munoz-Ramon and others (TR. 7). During the investigation, the
OPD identified places and locations of sources for methamphetamine (TR. 8). Using a
cooperating witness (CW), OPD officers placed the CW in a Hawthorne Suites hotel room
and had the CW call Munoz-Ramon informing Munoz-Ramon the CW wanted to make a
payment on an outstanding drug debt (TR. 9). Munoz-Ramon agreed and arrived at the
hotel in a Jeep vehicle driven by Cuevas, whereupon the CW came out and met Munoz-
Ramon (TR. 9). The CW and Munoz-Ramon went into CW’s hotel room where the CW
handed Munoz-Ramon money resulting in the OPD arresting Munoz-Ramon (TR. 9). Prior
to his arrival at the Hawthorne Suites, Munoz-Ramon had been under surveillance by the
OPD (TR. 8-9). OPD officers observed Munoz-Ramon at a location near 18th and Vinton
in Omaha where OPD officers believed Munoz-Ramon was staying. OPD observed
Munoz-Ramon get into the Jeep driven by Cuevas and go the area of 25th and G Streets
in Omaha (TR. 9-11). There, both Munoz-Ramon and Cuevas got out of the Jeep and
entered Apartment No. 12 at 4131 South 25th Street (TR. 9-11). Munoz-Ramon was
observed to come out of the apartment and walk to the Jeep and return to the apartment
(TR. 9-11). Shortly thereafter, Munoz-Ramon and Cuevas left the apartment, entered the
Jeep, and drove to the Hawthorne Suites (TR. 9-11).
      Following his arrest, Munoz-Ramon was interrogated and admitted to his
involvement in methamphetamine distribution to make money (TR. 9-11). Munoz-Ramon
stated he was instructed by his supplier, “El Chino”, to rent the apartment at 4131 South
25th Street for “El Chino’s” boss who was coming into town from California (TR. 9-11).
Munoz-Ramon was taken to the apartment location, pointed out the apartment and
identified the apartment number as 12 (TR. 9-11). Munoz-Ramon stated he made a
payment of $5,000 earlier at the apartment which was meant for “El Chino” but was
accepted by “El Chino’s” boss, a large Hispanic male from California (TR. 11). As Munoz-
Ramon was leaving the apartment area, “El Chino” arrived and Munoz-Ramon informed
“El Chino” of the payment (TR. 9-11).



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       About an hour after Munoz-Ramon’s interview (which included some drive-by
identifications), Detective Branch, Officer Hernandez (Spanish speaking), and OPD Officer
Anderson (Spanish speaking), drove to the apartment at 4131 South 25th Street to conduct
a “knock and talk” (TR. 12). They were dressed in civilian clothes with “POLICE” raid vests
and had their weapons holstered on their belts (TR. 30). Other officers followed a black
Mercedes with California plates which just left the apartment area as Detective Branch and
Officers Hernandez and Anderson arrived (TR. 31). Detective Branch and Officers
Hernandez and Anderson approached the door of Apartment 12 and Detective Branch
knocked on the door (TR. 12). Meza-Galvez opened the door (TR. 12). Detective Branch,
in English, identified himself and asked for permission to enter the residence (TR. 21).
Meza-Galvez, did not verbally respond but left the door open and walked away from the
door whereupon Detective Branch and the other officers followed Meza-Galvez into the
apartment (TR. 13). Once inside, Meza-Galvez began to speak in Spanish and Officer
Hernandez, a Spanish speaking officer, began to act as an interpreter (TR. 15). Meza-
Galvez is also known as “El Chino.” Meza-Galvez was asked whether he resided at the
apartment and whether he would grant the officers permission to search (TR. 16). Meza-
Galvez said he did not reside at the apartment and could not give the officers permission
to search (TR. 16). When Detective Branch entered the apartment, he noticed on the
coffee table a large stack of money and an opened ledger book he considered as drug
records (TR. 24; 32-33). A protective search of the apartment was conducted and no one
other than Meza-Galvez was in the apartment (TR. 17). While the officers were in the
apartment, Vallejo arrived at the apartment (TR. 19). Vallejo stated he had been staying
at the apartment for eight to ten days, but that it was not his apartment (TR. 19-20). Vallejo
also did not grant the officers permission to search the apartment (TR. 20).
       Before advising Meza-Galvez of his Miranda rights, Meza-Galvez was asked if there
were drugs in the apartment (TR. 16-17). Meza-Galvez stated there were drugs under the
“‘boiler” (TR. 50-51).   Officer Hernandez interrogated Meza-Galvez in the Spanish
language. Officer Hernandez read Meza-Galvez the Miranda rights in Spanish and
provided Meza-Galvez with a Spanish language rights advisory form (TR. 44-48). Meza-
Galvez waived his rights and agreed to speak with Officer Hernandez (TR. 44-48; Ex. 1).

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Thereafter, Meza-Galvez made various admissions regarding drug trafficking (TR. 48-49).
         Detective Branch left the apartment and prepared an affidavit for a search warrant.
The affidavit detailed the drug distribution with Munoz-Ramon earlier in the day and
detailed what the officers saw on the coffee table in Apartment 12 at 4131 South 25th
Street (Ex. 2). The affidavit also reflected the statements by Meza-Galvez that there was
five pounds of methamphetamine in the apartment (Ex. 2). After preparation, Detective
Branch presented the affidavit to a Douglas County judge who authorized a search warrant
for the apartment (Ex. 1). Thereafter, the search warrant was executed at Apartment 12
and numerous items were seized including methamphetamine, a gun, United States
currency, drug records, packing material, and venue items to Vallejo (TR. 21).


                                     LEGAL ANALYSIS
                                          Standing
         Meza-Galvez was staying at the apartment and kept certain of his belongings there.
To claim Fourth Amendment protection, a defendant must demonstrate that he personally
has an expectation of privacy in the place searched, and that his expectation is reasonable.
Minnesota v. Carter, 525 U.S. 83, 88 (1998); United States v. Ruiz-Zarate, 678 F.3d
683, 689 (8th Cir. 2012). The reasonableness of the expectation of privacy must have “a
source outside of the Fourth Amendment, either by reference to concepts of real or
personal property law or to understandings that are recognized and permitted by society.”
Rakas v. Illinois, 439 U.S. 128, 143-44 n.12 (1978); see also Smith v. Maryland, 442
U.S. 735, 740-41 (1979). “If a defendant fails to prove a sufficiently close connection to
the relevant places or objects searched he has no standing to claim that they were
searched or seized illegally.” United States v. Barragan, 379 F.3d 524, 529-30 (8th Cir.
2004).     “[A]n overnight guest in a home may claim the protection of the Fourth
Amendment[.]” Carter, 525 U.S. at 90; see also United States v. Wiest, 596 F.3d 906,
909-10 (8th Cir. 2010). The government does not challenge Meza-Galvez’s standing in this
matter.    The court finds Meza-Galvez has standing to object to the search of the
apartment.



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                                       Initial Entry
       Meza-Galvez argues the officers did not have consent to enter the apartment where
they observed the incriminating items on the coffee table which supported the probable
cause for the issuance of the search warrant. Meza-Galvez argues he did not speak
English and therefore could not have provided a voluntary consent to enter the apartment.
Detective Branch testified he knocked on the apartment door and when Meza-Galvez
opened the door, Detective Branch showed his police badge and was dressed in his
“POLICE” vest, and stated, in English, who he was and asked for permission to come in.
Meza-Galvez stepped away from the door and allowed the officers to enter. The officers
did not display their weapons nor did they force their way into the apartment. Meza-Galvez
made no protest and walked to the living room as the officers followed him. He said
nothing or made no attempt to keep the officers from entering the apartment. Meza-Galvez
had the authority to allow the officers into the apartment as he was staying at the
apartment. Meza-Galvez did not testify in the case and claims he did not speak English.
Detective Branch did not realize Meza-Galvez had problems with the English language until
after he attempted to talk with Meza-Galvez in the living room of the apartment when the
assistance of a Spanish-language officer, Officer Hernandez, was used. Thus, the action
of Meza-Galvez in opening the door, stepping away, and leading the officers into the living
room would lead any reasonable law enforcement officer believe he had permission to
enter the apartment. As with any factual determinations involving search and seizure, such
determinations are judged on an objective standard as to whether the facts as they existed
at the time would warrant a reasonable law enforcement officer with reasonable caution
and belief to believe Meza-Galvez was consenting to the officers entering the apartment.
See Illinois v. Rodriguez, 497 U.S. 177, 188 (1990). “[C]onsent . . . can be inferred from
words, gestures, or other conduct.” United States v. Pena-Ponce, 588 F.3d 579, 584 (8th
Cir. 2009). The court finds Detective Branch or any law enforcement officer would have
a reasonable belief Meza-Galvez (by his actions) had consented to the entry of the officers
into the apartment. United States v. Williams, 346 F.3d 796, 799 (8th Cir. 2003) (finding
consent to entry found where individual opened door wide and stepped aside); see also
United States v. Carter, 378 F.3d 584, 588 (6th Cir. 2004) (finding defendant voluntarily

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consented to entry by police officers into a hotel room when officers were instantly
recognizable as police when defendant opened the door and after officers asked
permission to enter, the defendant stepped back, making room for officers to enter). The
officers acted in good faith on the facts as were presented. The courts finds the officers
lawfully entered the apartment. Their entry should not be excluded under the exclusionary
rule. See United States v. Leon, 468 U.S. 897 (1984).


                                         Plain View
       “Observing objects in plain view violates no reasonable expectation of privacy, which
obviates the need for a search warrant.” United States v. Banks, 514 F.3d 769, 773 (8th
Cir. 2008). “Under the plain-view exception, officers may seize an object without a warrant
if they are lawfully in a position from which they view the object, the incriminating character
of the object is immediately apparent, and the officers have a lawful right of access to the
object.” United States v. Beasley, 688 F.3d 523, 530 (8th Cir. 2012). In this case, as
soon as Detective Branch entered the apartment he observed a stack of currency and a
opened ledger with names and amounts observable in the ledger. He correctly opined the
items were drug records and proceeds. Such observation was consistent with prior reports
that the apartment was being used for collecting money on drug sales. Detective Branch
had a legal viewpoint and properly included this observation in his affidavit for a search
warrant for the apartment (Ex. 2).


                                Meza-Galvez’s Statements
       Shortly after the officers first entered the apartment, Meza-Galvez was asked
whether there were any drugs in the apartment. At the time of those questions, Meza-
Galvez was detained and in custody for the purposes of Miranda warnings. See Miranda
v. Arizona, 384 U.S. 436, 478 (1966). His response was there were drugs under the
“boiler.” It is well settled that a law enforcement official is required to advise an individual
of his or her Miranda rights before questioning if that individual is in custody. United
States v. Muhlenbruch, 634 F.3d 987, 995 (8th Cir. 2011). “[S]tatements made by a
custodial suspect in response to interrogation are inadmissible unless the suspect has

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voluntarily, knowingly, and intelligently waived his right against self incrimination.” United
States v. Binion, 570 F.3d 1034, 1040 (8th Cir. 2009). Meza-Galvez’s statement that
there were drugs underneath the boiler was made under interrogation while Meza-Galvez
was in the functional equivalent of custody and was uttered without the benefit of Miranda
warnings. Therefore, such a statement should be suppressed. However Meza-Galvez’s
later statements after a full advice of his rights in Spanish were voluntarily made and
sufficiently attenuated from his earlier statements, and such statements should not be
suppressed.


                                      Search Warrant
       In his affidavit for the search warrant, Detective Branch set forth the activities of that
day including that of the CW and Munoz-Ramon, the OPD surveillance, Munoz-Ramon’s
admissions, and the events observed when the officers entered Apartment 12 (Ex. 2). An
affidavit for a search warrant must contain probable cause of four ingredients: time, crime,
objects, and place. 2 Wayne R. LaFave, Search & Seizure § 3.7(d) at 412 (4th ed. 2004).
When reviewing the sufficiency of an affidavit “[a] totality of the circumstances test is used
to determine whether probable cause exists. Courts should apply a common sense
approach and, considering all relevant circumstances, determine whether probable cause
exists.” United States v. Hager, 710 F.3d 830, 836 (8th Cir. 2013). “[J]udges may draw
reasonable inferences from the totality of the circumstances in determining whether
probable cause exists to issue a warrant.” Hager, 710 F.3d at 836. “Probable cause is
established when there is a fair probability that the object of the search warrant may be
found in the place to be searched.” United States v. Romo-Corrales, 592 F.3d 915, 919
(8th Cir. 2010) (internal quotation omitted).
       The court finds the affidavit contained probable cause that drugs, drug proceeds,
and other evidence of drug transactions would be found in Apartment 12. If Meza-Galvez’s
early statement of drugs being under the “boiler,” were excised from the affidavit, there
would be sufficient probable cause to warrant the issuance of the search warrant.
Furthermore, assuming, arguendo, all the facts included after entry into Apartment 12 were



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excised from the affidavit, the remaining four corners of the affidavit would be sufficient to
establish probable cause for the issuance of the search warrant.


       IT IS RECOMMENDED TO JUDGE JOHN M. GERRARD that:
       1.     Meza-Galvez’s Motion to Suppress (Filing No. 67 as amended by Filing No.
99) be denied.
       2.     Meza-Galvez’s Motion to Suppress (Filing No. 65) be granted as to Meza-
Galvez’s pre-Miranda statement about drugs being under the “boiler” and denied in all
other respects.


                                        ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order and Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after
being served with a copy of this Order and Findings and Recommendation. Failure to
timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.


       DATED this 16th day of October, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge




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